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                                EXHIBIT 35



                                 In Support of


          Plaintiff United States’ Memorandum of Law in Support of the
         United States’ Second Motion for Partial Summary Judgment; and
            Statement of Undisputed Material Facts in Support Thereof
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                                                                                                         38884699



                                   UNITED STATES DISTRICT COURT                                      Jul 25 2011
                                   EASTERN DISTRICT OF LOUISIANA                                       8:16PM



                                      :
In re: Oil Spill by the Oil Rig “Deepwater                       MDL No. 2179
                                      :
       Horizon” in the Gulf of Mexico, on
       April 20, 2010                 :                          SECTION: J
                                      :
This Document Relates To: All Actions :                          JUDGE BARBIER
                                                                 MAGISTRATE JUDGE SHUSHAN
                                      :
…………………………………………………... :

            BP EXPLORATION & PRODUCTION INC.’S RESPONSES AND
               OBJECTIONS TO THE UNITED STATES’ FIRST SET OF
       INTERROGATORIES AND SECOND SET OF REQUESTS FOR PRODUCTION

           Defendant BP Exploration & Production Inc. (“BP”), by its undersigned Counsel, and,

pursuant to Rules 26, 33, and 34 of the Federal Rules of Civil Procedure, hereby submits the

following responses to the United States’ First Set of Interrogatories and Second Set of Requests

for Production.

                                SPECIFIC RESPONSES AND OBJECTIONS

           BP responds as follows to the United States’ specific interrogatories and requests for

production, subject to and without waiving its general objections, each and every one of which

are specifically incorporated into each individual response below.1

                                               INTERROGATORIES

        1.      Identify each and every person who participated in answering these
interrogatories, indicating the number of each interrogatory for which each person supplied
information.

RESPONSE:

           BP objects to this interrogatory on the grounds that the United States’ use of the term

“participated” is vague, ambiguous, and undefined. BP further objects that this request is



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    BP’s general objections are set forth at pages 48 - 56.
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       26.    Identify all Authorizations for Expenditure (AFE) that You finalized with MOEX
and the Anadarko Defendants related to the Macondo Well, and state the purpose, date and
amount of each AFE.

RESPONSE:

       BP objects to this request on the grounds that the United States’ use of the phrase

“finalized with MOEX and the Anadarko Defendants” is vague, ambiguous, and undefined.

       Subject to its specific and general objections, BP states that it has produced the signed

Authorizations    for   Expenditure    for   the   Macondo     Well    at   Bates   Nos.   BP-HZN-

2179MDL00057193 through BP-HZN-2179MDL00057208.                       Accordingly, the burden of

ascertaining the answer to this interrogatory is substantially the same for United States as it is for

BP, and BP therefore refers the United States to these documents in accordance with Federal

Rule of Civil Procedure 33(d).

       To the extent the United States’ interrogatory seeks additional information, BP objects on

the grounds that it is overbroad, unreasonable, unduly burdensome, and seeks information not

relevant to the claims or defenses of any party.


        27.     Identify all agreements for payment, cash calls, calls for future payments, invoices
or joint interest billings (JIB) (collectively, “request for payment”) that You sent to MOEX and
the Anadarko Defendants related to the Macondo Prospect, and for each request for payment,
describe when You made the request for payment, how it was transmitted, and for what services
or costs the request was made.

RESPONSE:

       BP objects to this interrogatory on the grounds that it is compound and contains multiple

subparts that should be counted as separate interrogatories.           BP further objects to this

interrogatory on the grounds that the United States’ use of the phrase “agreements for payment,

cash calls, calls for future payments, invoices or joint interest billings (JIB) (collectively,

“request for payment”)” is vague, ambiguous, and undefined.


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       Subject to its specific and general objections, BP states that it has produced the joint

interest billings to Anadarko and MOEX for the Macondo Well at Bates Nos. BP-HZN-

2179MDL02379479        through    BP-HZN-2179MDL02379481,          BP-HZN-2179MDL02379484

through   BP-HZN-2179MDL02379489,            BP-HZN-2179MDL02379490          through    BP-HZN-

2179MDL02379492, BP-HZN-2179MDL02379499 through BP-HZN-2179MDL02379504, BP-

HZN-2179MDL02379513               through           BP-HZN-2179MDL02379515,             BP-HZN-

2179MDL02379517        through    BP-HZN-2179MDL02379521,          BP-HZN-2179MDL02379522

through   BP-HZN-2179MDL02379524,            BP-HZN-2179MDL02379532          through    BP-HZN-

2179MDL02379535, BP-HZN-2179MDL02379545 through BP-HZN-2179MDL02379548, and

BP-HZN-2179MDL02423585 through BP-HZN-2179MDL02423590. In addition, a letter dated

November 24, 2009, from Michael J. Beirne to MOEX with the subject “Macondo Lease

Exchange Agreement Invoice” has been produced at Bates No. DWHMX00071496.

Accordingly, the burden of ascertaining the answer to this interrogatory is substantially the same

for United States as it is for BP, and BP therefore refers the United States to these documents in

accordance with Federal Rule of Civil Procedure 33(d).

       To the extent the United States’ interrogatory seeks additional information, BP objects on

the grounds that it is overbroad, unreasonable, unduly burdensome, and seeks information not

relevant to the claims or defenses of any party.


       28.     Identify all payments made by the Anadarko Defendants to You related to the
Macondo Prospect and for each such payment, describe when the Anadarko Defendants made
the payment, which Anadarko Defendant made the payment, how the payment was transmitted
or tendered, to which request for payment it corresponded, and for what services, costs or other
purposes the payment was made.




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       32.    Did MOEX and the Anadarko Defendants have full access to the information
provided for in the Joint Operating Agreement, including WellSpace and InSite Anywhere?
Describe such information, their access, and identify any complaint you received from MOEX or
the Anadarko Defendants concerning access to such information and the steps You took to
address such complaints, if any.

RESPONSE:

       BP objects to this interrogatory on the grounds that it is compound and contains multiple

subparts that should be counted as separate interrogatories.         BP further objects to this

interrogatory on the grounds that it is overbroad, unreasonable, and unduly burdensome. BP

further objects on the grounds that this interrogatory seeks information not relevant to the claims

or defenses of any party. Additionally, BP objects to this interrogatory on the grounds that the

United States’ use of the phrases “full access,” “provided for in the Joint Operating Agreement,

including WellSpace and InSite Anywhere,” and “Describe such information, their access” is

vague, ambiguous, and undefined.

       Subject to its specific and general objections, BP states that MOEX and Anadarko had

access to the information to which they were entitled under the terms of the Macondo Prospect

Offshore Deepwater Operating Agreement.         BP refers the United States to the documents

produced at Bates Nos. BP-HZN-2179MDL00054328 through BP-HZN-2179MDL00054572.

MOEX and Anadarko also had access to WellSpace, and INSITEAnywhere. BP further states

that it is not aware of any instance before April 20, 2010, where Anadarko or MOEX complained

of not receiving information to which they were entitled under the Macondo Prospect Offshore

Deepwater Operating Agreement. There was one occasion when Paul Chandler, an Anadarko

employee, asked BP why Anadarko was not receiving certain drilling reports. (See ANA-MDL-

000065762.)




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       To the extent the United States’ interrogatory seeks additional information, BP objects on

the grounds that it is overbroad, unreasonable, unduly burdensome, and seeks information not

relevant to the claims or defenses of any party.


        33.     Prior to April 20, 2010, did You provide Information to MOEX and the Anadarko
Defendants about any issues with well control, including without limitation loss return events,
kicks, and other issues, at the Macondo Well? If so, Identify your communications with and the
Information You provided to MOEX and the Anadarko Defendants concerning such issues and
identify the facts that support your response.

RESPONSE:

       BP objects to this interrogatory on the grounds that the United States’ use of the phrases

“issues with well control” and “loss return events, kicks, and other issues” is vague, ambiguous

and undefined. BP further objects to this interrogatory on the grounds that it is overbroad and

unduly burdensome.

       Subject to its specific and general objections, BP states that, while the meaning of the

term “issue” is not entirely clear, BP informed Anadarko and MOEX about significant well

control events at the Macondo Well. In addition, after BP encountered the pay zone in April, a

number of the operations at the Macondo Well had the purpose of maintaining well control,

leading up to temporary abandonment. The co-owners were informed via a number of channels

and on a number of occasions about these operations, including by formal contractual and

advisory communications, such as Authorizations for Expenditure, through reports about day-to-

day operations at the Macondo Well, and in ad hoc communications between BP and Anadarko

and MOEX technical personnel. While some of the conversations were likely technical in

nature, BP is not presently able to reconstruct the specific content of every such conversation

which may be responsive to this interrogatory. BP will conduct a reasonable search of non-

privileged documents for communications between BP and Anadarko or MOEX regarding the


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Dated: July 25, 2011                    Respectfully submitted,

                                        AS TO RESPONSES TO
                                        INTERROGATORIES
                                        By: /s/ Bill Kirton______
                                        BP America Inc.
                                        501 Westlake Park Blvd.
                                        Houston, Texas 77079

                                        BP America Inc., BP America Production
                                        Company, and BP Exploration &
                                        Production Inc.

                                        AS TO OBJECTIONS AND TO
                                        RESPONSES TO REQUESTS FOR
                                        DOCUMENTS

                                        By: /s/ J. Andrew Langan, P.C.

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                                      Attorneys for BP Exploration & Production
                                      Inc.
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                               CERTIFICATE OF SERVICE

       I hereby certify that the above and foregoing response has been served on All Counsel by

electronically uploading the same to Lexis Nexis File & Serve in accordance with Pretrial Order

No. 12, which will send a notice in accordance with the procedures established in MDL 2179, on

this 25th day of July, 2011.

                                                     /s/ J. Andrew Langan, P.C.___
